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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

____________________________________
                                     )
JANE DOES 1-7,                       )
                                     )
                        Plaintiffs,  )
                                     )
            v.                       )   Civil Action No. 1:25-CV-00234
                                     )
OFFICE OF PERSONNEL                  )
MANAGEMENT,                          )
                                     )
                        Defendant.   )
_____________________________________)


 DEFENDANT’S COMBINED MEMORANDUM OF POINTS AND AUTHORITIES IN
  SUPPORT OF DEFENDANT’S MOTION TO DISMISS AND IN OPPOSITION TO
 PLAINTIFFS’ RENEWED MOTION FOR A TEMPORARY RESTRAINING ORDER
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                                        INTRODUCTION

       Plaintiffs, two unidentified employees of agencies in the United States Executive Branch

and five other individuals with .gov email addresses, have moved for a temporary restraining order

(“TRO”) to prevent the Office of Personnel Management (“OPM”) from operating the

Government-Wide Email System (“GWES”) or any computer system connected to it prior to the

completion and public release of a “legally sufficient” Privacy Impact Assessment (“PIA”). See

Pls.’ Renewed Mot. for a TRO at 19, ECF No. 15 (Pls.’ Renewed TRO Mot.). Plaintiffs seek this

extraordinary relief based on allegations that the E-Government Act of 2002 requires OPM to

complete a PIA for its GWES and that the PIA OPM completed and publicly released on February

5, 2025, is legally insufficient. See id. at 1. Many of Plaintiffs’ factual allegations, based on a

since-deleted Reddit post, are unsubstantiated and, if this case proceeds, will be rebutted in due

course. But this case should not proceed because Plaintiffs’ allegations fail as a matter of law on

multiple grounds.

       As a preliminary matter, the Court should deny Plaintiffs’ Renewed TRO Motion because

Plaintiffs have failed to establish an injury that satisfies this Circuit’s demanding standard for

irreparable harm and because the balance of equities tips sharply against disrupting email

communication with the entire federal workforce. In addition, Plaintiffs’ claims should be

dismissed under Rule 12(b)(1) of the Federal Rules of Civil Procedure because Plaintiffs lack

standing to assert their claims. Specifically, Plaintiffs have not established an actual or imminent

injury in fact, as required to demonstrate Article III standing. Plaintiffs’ claims also should be

dismissed under Rule 12(b)(6) of the Federal Rules of Civil Procedure because Plaintiffs have

failed to state a claim. Even if the E-Government Act required a PIA under these circumstances,

which it does not, OPM has already published a PIA. Plaintiffs’ claim is therefore moot. To the

extent Plaintiffs attempt to challenge the substance of the PIA or its accuracy, that claim also fails.
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The PIA is not a final agency action that can be challenged under the APA. Likewise, the E-

Government Act does not provide a cause of action for Plaintiffs to challenge its sufficiency. For

these reasons, the case should be dismissed, and the application for a temporary restraining order

denied.

                                         BACKGROUND

   I.        THE E-GOVERNMENT ACT OF 2002

          The E-Government Act of 2002, Pub. L. No. 107-347, § 208, 116 Stat. 2899, 2921-22,

codified at 44 U.S.C. § 3501 note, is designed, among other things, to “improve the ability of the

Government to achieve agency missions and program performance goals,” “promote the use of the

Internet and emerging technologies within and across Government agencies,” “promote better

informed decisionmaking by policy makers,” and “utilize[e], where appropriate, best practices

from public and private sector organizations.” Id. § 2(b)(4), (5), (7), (10) (codified at 44 U.S.C.

§ 3601 note). Section 208 of the Act, which is at issue in this case, exists “to ensure sufficient

protections for the privacy of personal information as agencies implement citizen-centered

electronic Government.” Id. § 208(a) (emphasis added). Accordingly, Section 208 requires that

an agency take specified steps before “(i) developing or procuring information technology that

collects, maintains, or disseminates information that is in an identifiable form; or (ii) initiating a

new collection of information that” “will be collected, maintained, or disseminated using

information technology” and “includes any information in an identifiable form permitting the

physical or online contacting of a specific individual, if identical questions have been posted to, or

identical reporting requirements imposed on, 10 or more persons, other than agencies,

instrumentalities, or employees of the Federal Government.” Id. § 208(b)(1)(A)(i)–(ii) (emphasis

added).



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         Before either “developing or procuring information technology” or “initiating a new

collection of information,” an agency must: (1) conduct a PIA; (2) “ensure the review of the

privacy impact assessment by the Chief Information Officer, or equivalent official, as determined

by the head of the agency”; and, “if practicable, after completion of the review . . . , make the

privacy impact assessment publicly available through the website of the agency, publication in the

Federal Register, or other means.” Id. § 208(b)(1)(A), (B). The privacy impact assessment is to

address matters including “what information is to be collected,” “why the information is being

collected,” “the intended use of the agency of the information,” “with whom the information will

be shared,” “what notice or opportunities for consent would be provided to individuals regarding

what information is collected and how that information is shared,” “how the information will be

secured,” and “whether a system of records is being created under” the Privacy Act. Id.

§ 208(b)(2)(B)(ii).

         Notably, it has long been understood that “no PIA is required where information relates to

internal government operations.” U.S. Office of Management and Budget, OMB Guidance for

Implementing the Privacy Provisions of the E-Government Act of 2002, § II(B)(9)(c) (Sept. 26,

2003), https://georgewbush-whitehouse.archives.gov/omb/memoranda/m03-22.html#a; see also

id. § II(B)(1)(a), (b) (specifying that a PIA is necessary only when “developing or procuring IT

systems or projects that collect, maintain or disseminate information in identifiable form from or

about members of the public” or initiating a new collection of information from 10 or more persons

“excluding agencies, instrumentalities or employees of the federal government”) (emphases

added)); U.S. Office of Personnel Management, Privacy Impact Assessment (PIA) Guide, at 2

(Apr.        2010),        https://www.opm.gov/information-management/privacy-policy/privacy-




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references/piaguide.pdf (stating that a PIA is not required when an agency is seeking to collect

information about agencies, instrumentalities, or employees of the Federal Government).

   II.      PROCEDURAL HISTORY

         Plaintiffs filed this suit on January 27, 2025, raising claims under the E-Government Act

of 2002 and the Administrative Procedure Act (“APA”). Plaintiffs electronically served the

complaint and moved for a TRO on February 4, 2025. The same day, the Chief Judge granted

plaintiffs motion to proceed using pseudonyms, and the case was assigned to this Court. Mem.

Op. & Order, ECF No. 7. On February 6, the Court held a Motion Hearing, where it heard both

parties’ arguments and denied Plaintiffs’ Motion for a Temporary Restraining Order. Minute

Entry (Feb. 6, 2025). Plaintiffs then filed a Motion for leave to add additional plaintiffs to the suit

under pseudonyms, which the Court granted. See Pls.’ Mot. for Leave to Add Pseudonyms, ECF

No. 12; Order, ECF No. 13. The same day, Plaintiffs filed an Amended Complaint and submitted

a Renewed Motion for a Temporary Restraining Order. See First Am. Compl. Class Action, ECF

No. 14 (“First Am. Compl.”); Pls.’ Renewed TRO Mot., ECF No. 15.

                                      LEGAL STANDARDS

         A TRO, like a preliminary injunction, is “an extraordinary and drastic remedy,” Munaf v.

Geren, 553 U.S. 674, 689–90 (2008) (citation omitted), that is only to be awarded “upon a clear

showing” by a movant that it is “entitled to such relief.” Winter v. Nat. Res. Def. Council Inc., 555

U.S. 7, 22 (2008). To secure a TRO, “the moving party must show (1) a substantial likelihood of

success on the merits, (2) that it would suffer irreparable injury if the injunction were not granted,

(3) that an injunction would not substantially injure other interested parties, and (4) that the public

interest would be furthered by the injunction.” Chaplaincy of Full Gospel Churches v. England,

454 F.3d 290, 297 (D.C. Cir. 2006). When “the Government is the opposing party,” the assessment



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of “harm to the opposing party” and “the public interest” merge. Nken v. Holder, 556 U.S. 418,

435 (2009).

       Additionally, Plaintiffs bear the burden of establishing subject matter jurisdiction. See

Lujan v. Defs. of Wildlife, 504 U.S. 555, 561 (1992). Under Rule 12(b)(1), Plaintiffs bear the

burden of establishing by a preponderance of the evidence that they have standing to assert their

claims. Grand Lodge of Fraternal Ord. of Police v. Ashcroft, 185 F. Supp. 2d 9, 13 (D.D.C. 2001).

Under Federal Rule of Civil Procedure 12(b)(6), a court must dismiss a complaint that “fail[s] to

state a claim upon which relief can be granted.” A complaint must allege enough facts to state a

claim for relief that is facially plausible. See, e.g., Hawkins v. Wash. Metro. Area Transit Auth.,

311 F. Supp. 3d 94, 100 (D.D.C. 2018). Although a court must construe the complaint in the

plaintiffs’ favor, “[c]onclusory allegations . . . are not entitled to an assumption of truth, and even

allegations pleaded with factual support need only be accepted insofar as ‘they plausibly give rise

to an entitlement of relief.’” Id. at 100–01 (quoting Ashcroft v. Iqbal, 556 U.S. 662, 679 (2009)).

This plausibility showing “demands more than an unadorned, the-defendant-unlawfully-harmed-

me accusation,” and it “asks for more than a sheer possibility that [the] defendant has acted

unlawfully.” Iqbal, 556 U.S. at 678. Legal conclusions, “naked assertion[s] devoid of further

factual enhancement,” and “a formulaic recitation of the elements of a cause of action” are legally

insufficient to state a plausible claim. Id. (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555,

557 (2007)). A complaint must be dismissed under 12(b)(6) where no cause of action exists. Doe

v. Metro. Police Dep’t, 445 F.3d 460, 467 (D.C. Cir. 2006).




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                                            ARGUMENT

    I.      THIS COURT LACKS JURISDICTION OVER PLAINTIFFS’ CLAIMS

         A. Plaintiffs Have Failed to Establish Standing

         Article III standing is a prerequisite to federal court jurisdiction. Am. Libr. Ass’n v. FCC,

401 F.3d 489, 492 (D.C. Cir. 2005). To establish standing, a plaintiff must show: (1) an “injury

in fact,” that is, a violation of a legally protected interest that is “concrete and particularized” and

“actual or imminent, not conjectural or hypothetical”; (2) a causal connection between the injury

and the defendant’s conduct such that the injury is “fairly . . . trace[able] to the challenged action,”

and (3) that it is “likely, as opposed to merely speculative that the injury will be redressed by a

favorable decision.” Lujan, 504 U.S. at 560–61 (citations omitted). “The plaintiff, as the party

invoking federal jurisdiction, bears the burden of establishing these elements,” and therefore “must

clearly . . . allege facts demonstrating each element.” Spokeo, Inc. v. Robins, 578 U.S. 330, 338

(2016) (quoting Warth v. Seldin, 422 U.S. 490, 518 (1975)). Plaintiffs fail at step one.

         Plaintiffs allege two sources of injury, neither of which establishes standing. First,

Plaintiffs argue that they “face a reasonably foreseeable risk that their PII will be unlawfully

obtained from these unknown systems.” See First Am. Compl. ¶ 58. But Plaintiffs do not allege

that any such data breach has occurred, and any alleged injury stemming from a hypothetical,

future data breach is too speculative to establish standing. See Clapper v. Amnesty Int’l USA, 568

U.S. 398, 410 (2013). Indeed, for Plaintiffs to suffer an injury under this theory, there would have

to be a future, third-party breach of OPM’s systems that is traceable not only to OPM’s use of the

GWES, but also to Plaintiffs’ vague allegations about the adequacy of the PIA. Courts have

routinely rejected such theories of injury that “rel[y] on a highly attenuated chain of possibilities.”

Id.; see Murthy v. Missouri, 603 U.S. 43, 57 (2024) (“The one-step-removed, anticipatory nature



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of [plaintiffs’] alleged injuries” fails to satisfy standing), remanded, 114 F.4th 406 (5th Cir. 2024).

“[F]ears of hypothetical future harm that is not certainly impending,” without more, cannot satisfy

Article III. Clapper, 568 U.S. at 416. The fact that, over ten years ago, OPM suffered a past data

breach based on the intrusion of a sophisticated foreign actor and wholly unrelated to the adequacy

of any PIA, see In re U.S. Off. of Pers. Mgmt. Data Sec. Breach Lit., 928 F.3d 42, 76 (D.C. Cir

2019) (describing breach as “handiwork of foreign spies”), cannot establish a real or immediate

threat of a future breach that is traceable to OPM’s alleged failure to prepare a PIA. See City of

L.A. v. Lyons, 461 U.S. 95, 111 (1983) (holding that an equitable remedy was unavailable where

the plaintiff had failed to establish that a past harm was likely to occur again). Despite Defendant

having raised this argument in response to Plaintiffs’ first Motion for a TRO, Plaintiffs have failed

to provide a single case citation in support of the proposition that such a hypothetical harm supports

standing.

       Second, Plaintiffs allege that they have suffered an informational injury because OPM did

not conduct a “legally sufficient” PIA. See First Am. Compl. ¶¶ 58–59. A plaintiff suffers a

“sufficiently concrete and particularized informational injury” only if “(1) it has been deprived of

information that, on its interpretation, a statute requires the government or a third party to disclose

to it, and (2) it suffers, by being denied access to that information, the type of harm Congress

sought to prevent by requiring disclosure.” Elec. Priv. Info. Ctr. v. Presidential Advisory Comm'n

on Election Integrity, 878 F.3d 371, 378 (D.C. Cir. 2017) (EPIC) (quoting Friends of Animals v.

Jewell, 828 F.3d 989, 992 (D.C. Cir. 2016)). But Plaintiffs have not pointed to a specific piece of

information that they have been deprived of under the statute. Other than speculation on social

media, Plaintiffs provide no evidence that OPM took any of the actions that would trigger the PIA

requirement under sections 208(b)(1)(A)(i)–(ii) of the E-Government Act. Plaintiffs disregard



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entirely the fact that “[n]o PIA is required where information relates to internal government

operations.” OMB Guidance for Implementing the Privacy Provisions of the E-Government Act

of 2002, § II(B)(3). See also E-Government Act, Pub. L. No. 107-347, § 208(b)(1)(A)(i)–(ii). And

Plaintiffs ignore that the PIA OPM did file provides all of the information required by the statute.

Because the E-Government Act does not require disclosure of the information Plaintiffs allege

they were denied, the Court need not proceed past the first prong of the informational standing test

under EPIC. See Friends of Animals, 828 F.3d at 992–93 (informational injury not sufficiently

alleged where statutory provision could not be read to require disclosure plaintiffs sought).

         Plaintiffs also fail the second prong of the informational standing test. Section 208 is not

about informational harm. The purpose of the Act is to “ensure sufficient protections for the

privacy of personal information as agencies implement citizen-centered electronic Government.”

E-Government Act, Pub. L. No. 107-347, § 208(a). The disclosure of information is thus not the

primary objective of Section 208, in contrast to statutes such as the Freedom of Information Act.

See EPIC, 878 F.3d 371 at 378. Further, Section 208’s purpose is not the protection of personal

privacy in intra-governmental data systems. The privacy protection covers “citizen-centered”

information being gathered “from or about members of the public.”              OMB Guidance for

Implementing the Privacy Provisions of the E-Government Act of 2002 § II(B)(1)(a). Accordingly,

Plaintiffs fail both prongs of the informational standing test. The complaint should be dismissed

for want of jurisdiction.

       B.      Plaintiffs’ Claim is Moot Because OPM Published a PIA

       Even if Plaintiffs could establish an informational injury flowing from an alleged failure to

prepare and publish a PIA, they still could not establish standing. OPM conducted a PIA and

published it on its website. The alleged informational injury is therefore moot. Article III of the



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Constitution restricts the federal courts to deciding only ‘actual, ongoing controversies,’ and a

federal court has no ‘power to render advisory opinions [or] . . . decide questions that cannot affect

the rights of litigants in the case before them.’” Nat’l Black Police Ass’n v. District of Columbia,

108 F.3d 346, 349 (D.C. Cir. 1997) (quoting Honig v. Doe, 484 U.S. 305, 317 (1988) and Preiser

v. Newkirk, 422 U.S. 395, 401 (1975)). The same goes for any allegation of a potential, future

breach. Plaintiffs do not allege any breach has occurred, and OPM has now conducted the PIA.

       C. Plaintiffs Fail to State a Claim

       Even if Plaintiffs were able to demonstrate a cognizable injury sufficient to establish

standing, this suit should be dismissed because the E-Government Act contains no private right of

action; Plaintiffs’ asserted right to challenge the substance and accuracy of the PIA is not

actionable under the APA; 1 and the Declaratory Judgment Act does not create a stand-alone cause

of action.

               1. Plaintiffs Fail to State a Claim Under the E-Government Act

       Plaintiffs do not assert that the E-Government Act contains a private right of action or

“constitutes a statutory mechanism by which [an agency’s] conclusions . . . can be challenged.”

See Miss. Comm’n on Env’t. Quality v. EPA, 790 F.3d 138, 185 (D.C. Cir. 2015) (emphasis

omitted). Nor could they. As explained, the purpose of the E-Government Act is to ensure privacy

protections “as agencies implement citizen-centered electronic Government.” E-Government Act,

Pub. L. No. 107-347, § 208(a). Congress did not intend to give private individuals a right to nitpick

the government’s internal IT choices, as Plaintiffs try to do here.




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 Indeed, Plaintiffs do not cite a single case where a Court has reviewed the substance of a PIA,
and Defendant is not aware of one.
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                2. Plaintiffs Fail to State a Claim Under the APA

        The APA, 5 U.S.C. §§ 701–706, establishes a waiver of sovereign immunity and a cause

of action for injunctive relief for parties adversely affected by agency action. See id. § 706(1)-(2);

see also Heckler v. Chaney, 470 U.S. 821, 828 (1985). The APA permits judicial review of “final

agency action for which there is no other adequate remedy in a court.” 5 U.S.C. § 704; Bennett v.

Spear, 520 U.S. 154 (1997). Under the APA, a court must “hold unlawful and set aside agency

action, findings, and conclusions” that are “arbitrary, capricious, an abuse of discretion, or

otherwise not in accordance with law,” 5 U.S.C. § 706(2)(A), “in excess of statutory authority,”

id. § 706(2)(C), or “without observance of procedure required by law.” Id. § 706(2)(D).

        Plaintiffs fail to state a claim under the APA because the publication of a PIA is not a

reviewable final agency action. To state a claim under the APA, a plaintiff must challenge a

covered “agency action” which is “final.” Id. § 704. The PIA does not meet the statutory definition

of “agency action,” and, even if it did, it does not constitute “final agency action” because it does

not result in legal consequences for Plaintiffs.

                        a. A PIA Is Not Agency Action for Purposes of the APA

        As an initial matter, “agency action” is defined as “the whole or a part of an agency rule,

order, license, sanction, relief, or the equivalent or denial thereof, or failure to act.” Id. § 551(13).

Although this definition is broad, it is not all-encompassing. See Indus. Safety Equip. Ass’n v. EPA,

837 F.2d 1115, 1120 (D.C. Cir. 1988) (“Clearly Congress did not intend that the APA definition

of a rule be construed so broadly that every agency action would be subject to judicial review.”).

A PIA falls into none of these categories.

        The D.C. Circuit has concluded that reports similar to PIAs issued by agencies fall outside

reviewable agency action.         For example, the D.C. Circuit concluded that a Federal



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Communications Commission report that discussed the services of broadcast stations after the

transfer of ownership was not “agency action” subject to APA review. Hearst Radio, Inc. v. FCC,

167 F.2d 225, 227 (D.C. Cir. 1948). In fact, the D.C. Circuit reached that conclusion even

accepting for the purposes of the motion to dismiss that the report was false, libelous, and caused

actual damages to the owner of a station. Id. Similarly, in Industrial Safety Equipment, the D.C.

Circuit concluded that an Environmental Protection Agency report evaluating the effectiveness of

respirators was not a reviewable agency action. See 837 F.2d at 1119–21 (determining that the

report could only arguably be considered either a “sanction” or “rule,” and concluding (1) that it

was not a rule because it was “advisory,” “[did] not change any law or official policy presently in

effect,” and (2) that it was not a sanction because it was not “intended to penalize producers or

consumers” of criticized respirators). 2 Like these reports, the PIA did not change any official law

or policy, was not published in the Federal Register or Code of Federal Regulations, and was not

intended to penalize anyone. It is thus, neither a “rule” nor any other reviewable agency action

listed in 5 U.S.C. § 551(13).

                       b. A PIA Is Not Final Agency Action under the APA

       In any event, the PIA is not a final agency action. In Bennett, the Supreme Court held that

two conditions must be satisfied for a plaintiff to make the threshold showing of final agency

action: First, the action must mark the “consummation” of the agency’s decision-making process—

it must not be of a merely tentative or interlocutory nature. 520 U.S. at 177–78 (citation omitted).




2
  The Court further noted that the report at issue in Industrial Safety Equipment was not a rule
because it was not published in the Federal Register or Code of Federal Regulations. While
Defendants acknowledge that the E-Government Act allows for publication of a PIA in the Federal
Register, see E-Government Act, Pub. L. No. 107-347, § 208(b)(1)(B)(iii), it also allows for a PIA
to be made publicly available through other means, such as publication on the agency website, id.,
which is what OPM did here.
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Second, the action must be one by which “rights or obligations have been determined,” or from

which “legal consequences will flow.” Id. (citation omitted). “Agency action is considered final

to the extent that it imposes an obligation, denies a right, or fixes some legal relationship.” Reliable

Automatic Sprinkler Co. v. Consumer Prod. Safety Comm’n, 324 F.3d 726, 731 (D.C. Cir. 2003).

        Courts repeatedly have held that agency reports, opinions, press releases, and similar

publications do not constitute final agency action under the APA because they fail the second

requirement: they impose no obligation, deny no right, nor fix a legal relationship. For example,

the D.C. Circuit has held that a letter sent by the Consumer Protection Safety Commission to a

manufacturer after an investigation into its product—where the letter conveyed the agency’s

preliminary conclusion that the product presented a substantial hazard and requested voluntary

corrective action—was not a final agency action because it carried no legal consequences, despite

the likely practical consequences of the letter. See id. at 732 (stating that no legal consequences

followed from the agency’s conduct because the request for voluntary compliance had no legally

binding effect); Trudeau v. Fed. Trade Comm’n, 456 F.3d 178, 189 (D.C. Cir. 2006) (observing

that “we have never found a press release of the kind at issue here to constitute ‘final agency action’

under the APA”); cf. also Joshi v. Nat’l Transp. Safety Bd., 791 F.3d 8, 11 (D.C. Cir. 2015)

(investigative report that identified a pilot as the likely cause of an accident was not a “final order”

because it carried no legal consequences, despite the assertion of reputational, emotional, and

financial harm).

        The PIA is like these reports in that it does not impose obligations nor deny rights to

Plaintiffs. It further does not alter the legal relationship between OPM and Plaintiffs in any way.

Accordingly, it is not a final agency action under the APA. Indeed, Congress did not intend for

the APA “to create private rights of actions to challenge the inevitable objectionable impressions”



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created anytime a controversial document is published. Invention Submission Corp. v. Rogan, 357

F.3d 452, 459 (4th Cir. 2004) (quoting Flue-Cured Tobacco Coop. Stabilization Corp. v. EPA, 313

F.3d 852, 861 (4th Cir. 2002)). If the contrary view were adopted and the accuracy of agency

statements could be challenged based on their persuasive effect, “almost any agency policy or

publication issued by the government would be subject to judicial review.” Flue-Cured Tobacco,

313 F.3d at 861. “Under these circumstances, the presumption of reviewability of agency action

is woefully inapposite.” Guerrero v. Clinton, 157 F.3d 1190, 1196 (9th Cir. 1998) (citation

omitted). The same theory applies to reports that share information about Government activities.

The APA does not provide a cause of action for private parties to dispute the factual truth of every

routine act that an agency undertakes each day.

               3. Plaintiffs Fail to State a Claim Under the Declaratory Judgment Act

       Similarly, while not mentioned in their Renewed Motion for a TRO, Plaintiffs’ Complaint

suggests that they have may a cause of action under the Declaratory Judgment Act. See First Am.

Compl. at 1. But the Declaratory Judgment Act does not create a stand-alone cause of action. See

Ali v. Rumsfeld, 649 F.3d 762, 778 (D.C. Cir. 2011) (explaining that the Declaratory Judgment Act

does not itself “provide a cause of action,” as the “availability of [declaratory] relief presupposes

the existence of a judicially remediable right” (citation omitted)); cf., e.g., MedImmune, Inc. v.

Genentech, Inc., 549 U.S. 118, 127 (2007) (declaratory-judgment actions are subject to Article III

and require “that there is a substantial controversy, between parties having adverse legal interests,

of sufficient immediacy and reality to warrant the issuance of a declaratory judgment”). Rather

than providing a cause of action, the Declaratory Judgment Act offers a remedy, typically for a

potential defendant in an action that might otherwise be brought against them but has not yet been.

Accordingly, the Declaratory Judgment Act is not an appropriate cause of action here.



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         Moreover, “district courts possess discretion in determining whether and when to entertain

an action under the Declaratory Judgment Act, even when the suit otherwise satisfies subject

matter jurisdictional prerequisites.” Wilton v. Seven Falls Co., 515 U.S. 277, 282 (1995). For

example, courts may dismiss claims under the Declaratory Judgment Act when those claims are

duplicative of other claims. Boone v. MountainMade Found., 684 F. Supp. 2d 1, 12 (D.D.C. 2010).

Thus, to the extent Plaintiffs’ Declaratory Judgment Act claim would be duplicative of their APA

claim, it should be dismissed as redundant.

   II.      PLAINTIFFS’ APPLICATION FOR A TRO FAILS

         For the reasons stated above, Plaintiffs’ Complaint fails as a matter of law. Thus, their

motion for a TRO should be denied.            Moreover, the factors governing issuance of such

extraordinary relief also counsels against issuance of a TRO.

         A. Plaintiffs Cannot Establish Irreparable Harm

         In this Circuit, there is a “high standard for irreparable injury.” Chaplaincy of Full Gospel

Churches, 454 F.3d at 297. Any alleged irreparable harm “must be both certain and great; it must

be actual and not theoretical.” Id. (quoting Wis. Gas Co. v. Fed. Energy Regul. Comm’n, 758

F.2d 669, 674 (D.C. Cir. 1985)). It also must be of such “imminence that there is a clear and

present need for equitable relief.” Id. (quoting Wis. Gas Co., 758 F.2d at 674) (emphasis in

original). The fact that Plaintiffs have not demonstrated sufficient harm to establish standing is

alone enough to deny Plaintiffs’ renewed TRO Motion. See id. (“A movant’s failure to show any

irreparable harm is therefore grounds for refusing to issue a preliminary injunction, even if the




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other three factors entering the calculus merit such relief.” (citing Sea Containers Ltd. v. Stena

AB, 890 F.2d 1205, 1210–11 (D.C. Cir. 1989)). 3

        B. Plaintiffs Are Unlikely to Succeed on the Merits

       Because OPM has completed the PIA that Plaintiffs request, despite having no obligation

to do so because the GWES is an internal government system, see supra Part I.A, the case is moot

and Plaintiffs therefore cannot prevail on the merits. See supra Part I.A. Moreover, for the reasons

explained in Part I.C, Plaintiffs cannot challenge the substance and accuracy of the PIA through

the APA. But even looking past these threshold arguments, Plaintiffs’ allegations regarding the

sufficiency PIA fail on their face. See Pls.’ Renewed TRO Mot. at 1 (alleging that the PIA

published by OPM is “legally insufficient” and published for pretextual reasons). Indeed, the PIA

published by OPM includes each of the statutorily outlined requirements. First, the PIA was signed

by OPM’s Chief Information Officer (“CIO”), pursuant to section 208 (b)(1)(B)(ii). In addition,

the PIA addresses each substantive element that the statute requires: (1) it explains what

information is to be collected (PIA § 2.2); (2) it states why the information is being collected (PIA

§ 3.1, 5.1); (3) it states the intended use of the information (PIA § 3.1); (4) it states whom the

information will be shared with (PIA § 6.1, 6.3, 8.3); (5) it addresses opportunities for consent

(PIA § 4.2); (6) it discusses how the information will be secured (PIA § 1.3); and (7) it discusses

whether a system of records is being created under the Privacy Act (PIA § 1.2). See E-Government

Act, Pub. L. No. 107-347 § 208 (b)(2)(B)(ii).



3
  Plaintiffs’ delay also counsels against emergency relief. Although OPM announced the new
email system on January 23, First Am. Compl. ¶ 20, Plaintiffs did not seek a TRO until nearly two
weeks later, on February 4. Moreover, while Defendants wrote and filed a brief in opposition to
Plaintiffs’ initial TRO in less than 24 hours, Plaintiffs did not appear at the scheduled status
conference on February 5 and did not file a reply to Defendants’ position before the re-scheduled
hearing took place on February 6. These delays seriously undermine their claim of irreparable
harm.
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       Although Plaintiffs suggest that the fact that this PIA was signed by OPM’s CIO, Greg

Hogan, as opposed to Chief Privacy Officer, Kirsten Moncada, invalidates the PIA, the difference

in signatories is legally insignificant. See Pls.’ Renewed TRO Mot. at 4. Section 208 of the E-

Government Act explicitly states that the CIO may review a PIA. E-Government Act, Pub. L. No.

107-347, § 208(b)(1)(B)(ii). The fact that OPM has frequently relied on the provision of the E-

Government Act that allows the Chief Privacy Officer to review the PIA does not have any bearing

on the fact that the CIO is authorized to be the reviewer.

       Likewise, there is no legal relevance as to whether the CIO is a Special Government

Employee (“SGE”). See Pls.’ Renewed TRO Mot. at 4. Even if one assumed, arguendo, that the

CIO was an SGE (a fact for which Plaintiffs offer no evidence), an SGE is an agency employee.

An SGE’s status as such is an ethics designation, not a hiring authority. See U.S. Attorney General

Opinions, 7 Op. O.L.C. 123. And Plaintiffs cite no authority whatsoever that an SGE cannot be a

CIO.

       Plaintiffs also complain that the PIA is inaccurate because the data used in the GWES goes

beyond the names and government email addresses of Executive Branch employees. See e.g., Pls.’

Renewed TRO Mot. at 3. But the PIA does not suggest that the GWES is limited to the “Executive

Branch.” Instead, it refers to “federal government employees.” See PIA at § 2.1. Plaintiffs provide

no examples of Plaintiffs whose email domains are other than .gov or .mil. First Am. Compl. ¶ 3–

9. At bottom, even if Plaintiffs could challenge the sufficiency or accuracy of the PIA—which

they cannot for all the reasons explained above—Plaintiffs’ claims of deficiencies lack in

substance. Thus, Plaintiffs are unlikely to succeed on the merits.




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        C. The Public Interest Weighs Heavily Against Emergency Relief

       Plaintiffs cannot establish that the balance of equities and the public interest favor granting

the extraordinary remedy of a TRO. These final two factors merge in cases where relief is sought

from the government. Nken, 556 U.S. at 435; Pursuing Ams.’ Greatness v. FEC, 831 F.3d 500,

511 (D.C. Cir. 2016) (when the government is a party, these two factors merge and “are one and

the same, because the government’s interest is the public interest”).

       Here, the harms to the government of having to cease operating the GWES and any

computer systems connected to the GWES, and thereby preventing OPM from merely

communicating with Federal Government employees through their official email addresses, would

be tremendous.     Indeed, although Plaintiffs argue that their request for a TRO seeks to

“[r]eestablish[] the status quo,” Pls.’ Renewed TRO Mot. at 22–23, a TRO would greatly disrupt

the status quo by interfering with OPM’s ability to perform one of its core functions—managing

the civil service of the federal government. Relatedly, Plaintiffs’ allegation that the Government

has no cognizable interest “in maintaining the GWES” after the period for Executive employees

to respond to the Government’s deferred resignation program lapses, see id. at 13, is unfounded.

Plaintiffs do not present any evidence that OPM created the GWES system for the sole purpose of

communicating with employees about the deferred resignation program, and Defendants reject

any such assertion. Indeed, the GWES presents great efficiencies in allowing OPM to reach all

federal employees instead of each agency having to circulate the same information on its own. On

the other side of the balance, Plaintiffs suffer no harm. The E-Government Act did not require

OPM to complete a PIA; OPM did complete and publicly publish a PIA anyway; and neither the

APA nor the E-Government Act provide a private right of action for Plaintiffs to challenge the




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adequacy of the PIA, which is adequate under the statute in any event. Thus, the final factor

weighs heavily and dispositively in OPM’s favor.

                                      CONCLUSION

       For the foregoing reasons, this Court should deny Plaintiffs’ Renewed Motion for a

Temporary Restraining Order and dismiss the case under Rule 12(b)(1) and Rule 12(b)(6).

Dated: February 11, 2025                   Respectfully submitted,

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